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                       UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK


  TAWFEEQ ALMOAYED BUILDING CO.,
  W.L.L. and ABDULLA ALMOAYED,
                                                           Case No. 21-cv-01989-KPF
                Plaintiffs,

        v.

  SITE DEVELOPMENT GROUP, INC.,

                Defendant.


                        STIPULATED ORDER OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a) and the stipulation of the parties, as evidenced

by their signatures hereto,

        IT IS HEREBY ORDERED that the claims asserted by Plaintiffs against

Defendant (collectively, the "Parties") in this matter are dismissed without prejudice to

reopening if Defendant does not comply with the terms of the Confidential Settlement

Agreement and Release (the "Settlement Agreement") entered into among the parties and

dated September 7, 2021.
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IT IS SO STIPULATED:



By:
      Jeremy M.
      Hinckley       en & Snyder LLP
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      Tel.: (518) 396-3100

      Counselfor Defendant



By:
      Christopher J. Houpt
      Mayer Brown LLP
      1221 Avenue of the Americas
      New York, NY 10020
      Tel.: (212) 506-2380

      Counselfor Plaintiffs



SO ORDERED


DATED this 1st day of November , 2021.


                                       Judge Katherine Polk Failla




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